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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

 _____________________________________
                                        )
 ARTEMIO ALVAREZ BARRON,                )
 et al., and others similarly situated, )
                                        )
                Plaintiffs,             )             CIVIL ACTION No. 6:21-cv-03741
                                        )
 v.                                     )             JUDGE ROBERT T. SUMMERHAYS
                                        )
 STERLING SUGARS SALES                  )             MAGISTRATE JUDGE PATRICK J.
 CORPORATION,                           )             HANNA
                                        )
                Defendant.              )
 ___________________________________ )

        PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE OF COURT TO FILE
                  PLAINTIFFS’ FIRST AMENDED COMPLAINT


        Pursuant to Rules 6(a), 15(a) and 20(a) of the Federal Rules of Civil Procedure, Plaintiffs

 respectfully request leave of Court to file an amended pleading, which joins eight individuals as

 Plaintiffs, and in support thereof would show the Court the following:

    1. Plaintiffs’ First Amended Complaint was timely filed on January 18, 2022, within the

        deadline for amendment as a matter of course pursuant to Federal Rule of Civil Procedure

        15(a)(1)(B). See Dkt 22.

    2. Federal Rule of Civil Procedure 15(a)(1)(B) allows a party to amend its pleading once as

        a matter of course within 21 days after service of a responsive pleading. Federal Rule of

        Civil Procedure 6(a)(1)(C) states that, in computing any time period specified in the

        Rules, “if the last day [of the period] is a Saturday, Sunday, or legal holiday, the period

        continues to run until the end of the next day that is not a Saturday, Sunday, or legal




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        holiday.” Federal Rule of Civil Procedure 6(a)(6)(A) defines legal holiday to include the

        day set aside by statue for observing Martin Luther King Jr.’s birthday.

    3. Defendant filed its Answer to Plaintiffs’ Original Complaint on December 27, 2021. Dkt.

        15. Therefore, the 21-day deadline to amend as a matter of course fell on Monday,

        January 17, 2022. This day is set aside by statute for observing Martin Luther King Jr.’s

        birthday. 5 U.S.C. § 6103(a) (“The following are legal public holidays . . . Birthday of

        Martin Luther King, Jr., the third Monday in January.”). Pursuant to Federal Rule of

        Civil Procedure 6(a)(1)(C), the period to file Plaintiffs’ Amended Complaint as a matter

        of course was extended to January 18, 2022, which is when Plaintiffs filed their First

        Amended Complaint, Docket 22.

    4. In the alternative, Plaintiffs request leave to amend pursuant to Federal Rule of Civil

        Procedure 15(a)(2). Plaintiffs’ counsel has conferred with counsel with Defendant, and

        they have indicated they are unopposed to this Motion.

    5. The Federal Rules of Civil Procedure state that leave to amend should be “freely give[n]

        when justice so requires.” Fed. R. Civ. P. 15(a). “In the absence of . . . undue prejudice

        to the opposing party by virtue of allowing the amendment, futility of amendment, etc.--

        the leave sought should, as the rules require, be ‘freely given.’” Engstrom v. First Nat’l

        Bank of Eagle Lake, 47 F.3d 1459, 1464 (5th Cir. 1995) (quoting Forman v. Davis, 371

        U.S. 178, 182 (1962)).

    6. The deadline to join parties and amend pleadings is November 17, 2022. Dkt. 24.

        Therefore, this Motion is timely.

    7. Plaintiffs’ First Amended Complaint contains only one major change: it has added eight

        individuals as named Plaintiffs in this lawsuit, joining Alfredo Valdez Rodriguez, Jesus



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        Ivan Ramirez Fernandez, Arnulfo Villegas Miranda, Julio Santiago Villegas Sifuentes,

        Jesus Pedro Zazueta Ochoa, Pedro Abel Jimenez Gonzalez, Felipe de Jesus Suarez

        Palafox, and Jesus Alfredo Parra Martinez. These individuals have already opted into the

        lawsuit as Plaintiffs under the FLSA collective action, see Dkt. Nos. 11, 12, 14, 16, and

        21, and the amendment adds them as Plaintiffs under the same additional causes of action

        for breach of contract, violation of the Louisiana Wage Payment Act, and unjust

        enrichment.

    8. The claims of Alfredo Valdez Rodriguez, Jesus Ivan Ramirez Fernandez, Arnulfo

        Villegas Miranda, Julio Santiago Villegas Sifuentes, Jesus Pedro Zazueta Ochoa, Pedro

        Abel Jimenez Gonzalez, Felipe de Jesus Suarez Palafox, and Jesus Alfredo Parra

        Martinez arise out of the same series of occurrences as the original Plaintiffs, in that they

        were employed by Defendant under the same conditions and were paid and classified in

        the same way as agricultural H-2A workers when, in fact, they drove heavy trucks.

        Consequently, the primary questions of law and fact are common to the original Plaintiffs

        and these eight individuals. Therefore, joinder is appropriate under Federal Rule of Civil

        Procedure 20.

    9. Plaintiffs’ First Amended Complaint is attached as Exhibit A to this Motion and was filed

        as Docket 22.

    10. This Motion is made in good faith and will not result in undue prejudice against

        Defendant, who has not yet served discovery on Plaintiffs or taken any depositions. A

        scheduling order was only recently entered on January 25, 2022.

    WHEREFORE, Plaintiffs respectfully request that the Court grant Plaintiffs’ Motion for

    Leave of Court to File Plaintiffs’ First Amended Complaint.



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                                              Respectfully submitted,

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                                              ATTORNEYS FOR PLAINTIFFS


                             CERTIFICATE OF CONFERENCE

       I hereby certify that on the 25th day of January, 2022, I conferred with counsel for
 Defendant, Brandon E. Davis, regarding this Motion, and he indicated he was unopposed.

                                              /s/ Nicole Bucheri
                                              Nicole Bucheri



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